                                                      Case 1:17-cv-01477-JEJ Document 1-1 Filed 08/18/17 Page 1 of 1
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l. (a) PLAINTIFFS                                                                                                                                            DEFENDANTS
                     Black, Mary M.                                                                                                                                   United States of America


            (b)      count! ofResidence of !irsr Lisred                           Plainrifi Frederick'                        MD                             Count\ of Residence of ljirst l.isted Defendant
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            (C)      Attome!'s l,.i.)/u NdD! A&trclt. dnd l(lept'.w Nunh{)                                                                                       Anomels /// Ar,! r/
                     Philip S. Cosentino
                     DiLoreto, Coseriino & Bolinger
                     PO. Box 866, Chambersburg, PA 1720t

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VI. CAUSE OF ACTION

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